                    Case 24-30318            Doc 1       Filed 04/10/24 Entered 04/10/24 14:54:31                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Axim, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Axim Global
     Include any assumed          DBA Axim Software Inc. (in California)
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3617 Nancy Creek Road
                                  Charlotte, NC 28270
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.aximglobal.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Axim, Inc.                                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5415

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Axim, Inc.                                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Axim, Inc.                                                                  Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Axim, Inc.                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 10, 2024
                                                  MM / DD / YYYY


                             X /s/ Scott Sweet                                                            Scott Sweet
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Andrew T. Houston                                                       Date April 10, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew T. Houston 36208
                                 Printed name

                                 Moon Wright & Houston, PLLC
                                 Firm name

                                 212 N. McDowell Street
                                 Suite 200
                                 Charlotte, NC 28204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-944-6560                  Email address      ahouston@mwhattorneys.com

                                 36208 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                     CORPORATE RESOLUTION

       Green Drake, Ltd, being the sole shareholder of Axim, Inc., a Delaware corporation (the
“Company”) having a corporate headquarters and its principal office and principal place of
business located in Charlotte, North Carolina, does hereby adopt the following resolutions by
signing below to consent to action without holding a formal meeting of the shareholders or the
board of directors of the Company:

         RESOLVED, that the filing by the Company of a petition for relief under Chapter 7 of
title 11, United States Code (the “Bankruptcy Code”), in the United States Bankruptcy Court for
the Western District of North Carolina is approved; and it is

       FURTHER RESOLVED, that the officer(s) of the Company is/are authorized,
empowered, and directed to execute on behalf of the Company a petition for relief under Chapter
7 of the Bankruptcy Code in the United States Bankruptcy Court for the Western District of
North Carolina, and any affidavits, forms, schedules, notices, applications or any other pleadings
or documents which are necessary or appropriate; and it is

       FURTHER RESOLVED, that the retention on behalf of the Company of the law firm of
Moon Wright & Houston, PLLC, upon such terms and conditions as the officer(s) of the
Company shall approve, to render legal services to, and to represent the Company in connection
with such Chapter 7 proceeding and other related matters in connection therewith, is authorized
and approved; and it is

        FURTHER RESOLVED, that the officer(s) of the Company is/are authorized to retain on
behalf of the Company such other professionals as the officer(s) of the Company deem necessary
or appropriate, upon such terms and conditions as the officer(s) of the Company shall approve,
to render services to the Company in connection with such Chapter 7 proceedings and with
respect to other related matters in connection therewith; and it is

       FURTHER RESOLVED, that the officer(s) of the Company is/are authorized,
empowered, and directed to take any and all further action and to execute and deliver any and all
such further instruments and documents and to pay all such expenses (subject to Bankruptcy
Court approval), where necessary or appropriate in order to carry out fully the intent and to
accomplish the purposes of the resolutions adopted herein; and it is

       FURTHER RESOLVED, that all actions taken by the officer(s) of the Company prior to
the date hereof in connection with the reorganization or liquidation of the Company or any
matter related thereto, or by virtue of these resolutions, are hereby in all respects ratified,
confirmed, and approved.



                                        [Signature Page Follows]




MWH: 10827.001; 00029712.2
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Fill in this information to identify the case:

Debtor name         Axim, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 10, 2024                  X /s/ Scott Sweet
                                                           Signature of individual signing on behalf of debtor

                                                            Scott Sweet
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Axim, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           322,651.70

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           322,651.70


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,789,800.55


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,789,800.55




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Axim, Inc.

United States Bankruptcy Court for the:      WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of America Balance (-$722.89)                Checking                              3000                                             $0.00




          3.2.     Bank of America                                   Savings                               7403                                             $0.18



                   MWH Trust Account to be turned over
          3.3.     to Trustee                                        Trust Account                                                               $175,502.87



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $175,503.05
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Axim, Inc.                                                                   Case number (If known)
             Name


      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    56,318.49       -                                 0.00 = ....                    $56,318.49
                                      face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $56,318.49
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used      Current value of
                                                                                                   for current value          debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.   Axim Inc. UK Limited                                         100%        %       Debtor's Opinion                           $0.00




          15.2.   Axim Shared Service Centre                                   98%         %       Debtor's Opinion                           $0.00



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                                 $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
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Debtor        Axim, Inc.                                                                     Case number (If known)
              Name


      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers and related equipment
           See attached Asset Log                                                          $0.00     Book Value                                $0.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.aximglobal.com
           (Closed down)                                                                   $0.00                                               $0.00




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Axim, Inc.                                                                   Case number (If known)
              Name

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer names, telephone numbers and
           email addresses                                                               $0.00                                              $0.00



64.        Other intangibles, or intellectual property
           Avaya/Allstate Software                                                       $0.00     Development cost                  $50,000.00


           Tmetrics Software                                                             $0.00     Development cost                  $30,000.00



65.        Goodwill

66.        Total of Part 10.                                                                                                      $80,000.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           Federal R&D tax credit
           To be applied by Trinet to payroll (although no
           employees now
           On hold by IRS                                                                    Tax year 2023                           $10,830.16



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor      Axim, Inc.                                                              Case number (If known)
            Name

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                          $10,830.16
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                       page 5
                 Case 24-30318                       Doc 1           Filed 04/10/24 Entered 04/10/24 14:54:31                                         Desc Main
                                                                      Document     Page 16 of 61
Debtor          Axim, Inc.                                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $175,503.05

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $56,318.49

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $80,000.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $10,830.16

91. Total. Add lines 80 through 90 for each column                                                            $322,651.70           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $322,651.70




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
  Schedule A/B Assets -Case
                       Question 11. Accounts
                            24-30318   Doc 1 Receivable
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                                                                           Axim, Inc.
                                                                        A/R Aging Detail
                                                                        As of February 19, 2024
                                         Transaction                                                                                                                                  Open
                  Period      Date
                                            Type
                                                              Invoice Num                        Customer                       Location        Due Date            Amount
                                                                                                                                                                                     Balance

91 or more days past due   07/24/2023   Invoice        1450                   ConvergeOne:USAX-0676 C1 PoC (Costa Rica)      Axim Inc. USA     09/12/2023             7,800.00          7,800.00

                                                                                                                          Total for 91 or more days past due    $     7,800.00   $      7,800.00


                           10/10/2023   Invoice        1481                   Avaya Inc:USAV-1311 Allstate CDR Phase 2       Axim Inc. USA     12/09/2023             8,070.35          8,070.35
61 - 90 days past due
                           10/24/2023   Invoice        1483                   ConvergeOne:USAX-0676 C1 PoC (Costa Rica)      Axim Inc. USA     12/13/2023            11,007.00         11,007.00

                                                                                                                              Total for 61 - 90 days past due   $    19,077.35   $     19,077.35


                           11/10/2023   Invoice        1489                   Avaya Inc:USAV-1311 Allstate CDR Phase 2       Axim Inc. USA     01/09/2024            15,000.00         15,000.00
31 - 60 days past due
                           11/24/2023   Invoice        1492                   ConvergeOne:USAX-0676 C1 PoC (Costa Rica)      Axim Inc. USA     01/13/2024            11,007.00         11,007.00

                                                                                                                              Total for 31 - 60 days past due   $    26,007.00   $     26,007.00


1 - 30 days past due       12/04/2023   Invoice        1496                   Avaya Inc:USAV-1311 Allstate CDR Phase 2       Axim Inc. USA     02/02/2024             3,434.14          3,434.14
                                                                                                                               Total for 1 - 30 days past due   $     3,434.14   $      3,434.14

                                                                                                                                                  TOTAL         $    56,318.49   $     56,318.49
  Schedule A/B Assets - Question 41 - Office Doc
                          Case 24-30318      Equipment
                                                 1 Filed 04/10/24 Entered 04/10/24 14:54:31 Desc Main
                                                                 Document        Page 18 of 61

                                                                Axim Inc - Hardware Asset Log
 Assets:                                                                                                                                  Book
              Make            Assets: Model Description                Assets: Serial Number                   Name   Date acquired
Category                                                                                                                                  value
                                                                  46A90019-2839-4927-BE4B-
 Desktop       Dell    DESKTOP-3T6MRQD                                                            Rebecca Johnson      12/15/2020     $      -
                                                                  2261D6FB1FD8
  Laptop      Dell     Inspiron                                   Service Tag: 5WZHHX2.           Rob Hendricks        12/15/2020     $      -
                                                                  3D326271-579D-4875-94C2-
  Laptop      Dell     XPS 13 7390                                                                Marie Laguna         12/15/2020     $      -
                                                                  48158282A5F1
  Laptop      Dell     Inspiron 15" 7000                          5WZHHX2                         Clint Niderstros     02/23/2021     $      -
                                                                  Express Service Code
  Laptop      Dell     Inspiron 15 7591 2 in 1 used for CDV demos 15060261170 Service Tag (s/n)   Dan Arnett           06/18/2020     $      -
                                                                  6X2HNW2
                                                                  Express Service Code
  Laptop      Dell     Alienware m15 MFG 2019                                                     Rebecca Johnson         2019        $      -
                                                                  28316818658 S/n DOB3P42
  Laptop      Dell     Vostro Notebook 7500                                                       Michael Rhoades      05/21/2021     $      -
  Laptop      Dell     Inspiron 15 5000                           43508663318                     Kenneth Stahl        12/15/2020     $      -
  Laptop      Dell     Alienware m15 ESC 42722793074              JMK1Q42                         Jack Montag          05/14/2021     $      -
  Laptop      Dell     Inspiron 14" 7000 Series (7400)                                            Eric Salley          05/24/2021     $      -
                                                                  4C138A9F-037A-4F4A-86CE-
  Laptop      Dell      XPS 13 7390                                                               Scott Sweet          12/15/2020     $      -
                                                                  FF79F93D910C
Laptop and Desktop write down policy - 2 years
              Case 24-30318                 Doc 1      Filed 04/10/24 Entered 04/10/24 14:54:31                             Desc Main
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Fill in this information to identify the case:

Debtor name       Axim, Inc.

United States Bankruptcy Court for the:       WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
                Case 24-30318                 Doc 1          Filed 04/10/24 Entered 04/10/24 14:54:31                                             Desc Main
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Fill in this information to identify the case:

Debtor name        Axim, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $144,043.67
          Aim SSC CR SRL                                                       Contingent
          Montes de Oca                                                        Unliquidated
          San Pedro                                                            Disputed
          San Jose, SJ 11501
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
          Alliance Technology Group LLC                                        Contingent
          Randall McCrea                                                       Unliquidated
          7010 HI Tech Dr                                                      Disputed
          Hanover, MD 21076
                                                                            Basis for the claim: Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $6,915.98
          Alliantist Ltd                                                       Contingent
          Sussex Innovation Centre Science Park Sq                             Unliquidated
          Falmer                                                               Disputed
          Brighton, East Sussex BN1 9SB
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $2,549.73
          Allianz                                                              Contingent
          100 International Drive 22nd Floor                                   Unliquidated
          Baltimore, MD 21202                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 10
                                                                                                          45019
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Amazon                                                       Contingent
         410 Terry Avenue North                                       Unliquidated
         Seattle, WA 98109-5210                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         American Red Cross
         Tish Whitaker                                                Contingent
         Shared Services Centre                                       Unliquidated
         PO Box 410500                                                Disputed
         Charlotte, NC 28241-0500
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         ARI                                                          Contingent
         John Calogero                                                Unliquidated
         4001 Leadenhall Road                                         Disputed
         Mount Laurel, NJ 08054
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         AT&T Services, Inc                                           Contingent
         Beth Edwards                                                 Unliquidated
         PO Box 66524                                                 Disputed
         Saint Louis, MO 63166
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Avant LLC                                                    Contingent
         Michael Litwin                                               Unliquidated
         222 N. LaSalle St., Suite 1700                               Disputed
         Chicago, IL 60601
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Avaya Federal Solutions, Inc.                                Contingent
         Mitzie A. Hatchett                                           Unliquidated
         12730 Fair Lakes Cir                                         Disputed
         Fairfax, VA 22033
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $0.00
         Avaya Inc                                                    Contingent
         Reema Gupta                                                  Unliquidated
         4655 Great America Parkway                                   Disputed
         Santa Clara, CA 95054
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 10
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45,739.77
         AWS                                                          Contingent
         410 Terry Avenue North                                       Unliquidated
         Seattle, WA 98101                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35,155.22
         Axim Inc (UK) Ltd                                            Contingent
         20-22 Wenlock Road                                           Unliquidated
         London N1 7GU                                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45,616.60
         Bank of America                                              Contingent
         BofA Business Card                                           Unliquidated
         PO Box 15796                                                 Disputed
         Wilmington, DE 19886
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 7426                      Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Benefis Health System                                        Contingent
         Matt Raab                                                    Unliquidated
         1101 26th St. S,                                             Disputed
         Great Falls, MT 59405
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,226.42
         BrownRudnick LLP (CXA)                                       Contingent
         One Financial Center                                         Unliquidated
         Boston, MA 02111                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4609
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,287.57
         Bullseye Media                                               Contingent
         322 1st Avenue Suite 500                                     Unliquidated
         Minneapolis, MN 55401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Carahsoft Technology Corp                                    Contingent
         Bryan Jenkins                                                Unliquidated
         11493 Sunset Hills RoadSuite 100                             Disputed
         Reston, VA 20190
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 10
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,750.00
         Cazandra LLC                                                 Contingent
         407 Lincoln Rd Ste 6G                                        Unliquidated
         Miami Beach, FL 33139                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,259.50
         Charles Russell Speechlys                                    Contingent
         5 Fleet Place                                                Unliquidated
         London UK                                                    Disputed
         EC4M 7RD
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,859.80
         Chris Byrom                                                  Contingent
         Little Acres, Ford Lane                                      Unliquidated
         Trottiscliffe                                                Disputed
         West Mailling, Kent ME19 5DP
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $36,219.50
         Chris Kay                                                    Contingent
         19 St Albans Road                                            Unliquidated
         Halifax, West Yorkshire HX3 0ND                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Citibank, N.A.                                               Contingent
         Its Branches, Subsidiaries and Affiliate                     Unliquidated
         388 Greenwich Street, 10th Floor                             Disputed
         New York, NY 10013
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         ConvergeOne                                                  Contingent
         Joe Reed                                                     Unliquidated
         10900 Nesbitt Avenue South                                   Disputed
         Bloomington,, MN 55437
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         CoxCom LLC                                                   Contingent
         Melissa Rockwell                                             Unliquidated
         6305B Peachtree Dunwoody Rd                                  Disputed
         Atlanta, GA 30038
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 10
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,047.00
         CT Corporation                                               Contingent
         P.O. Box 4349 Carol Stream                                   Unliquidated
          IL 60197                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 5536
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         CT Corporation System, as representative                     Contingent
         330 N. Brand Blvd., Suite 700                                Unliquidated
         Attn: SPRS                                                   Disputed
         Glendale, CA 91203
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Deloitte                                                     Contingent
         Mike Syed                                                    Unliquidated
         7900 Tysons One Place                                        Disputed
         McLean, VA 22012
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         First Corporate Solutions, Inc.                              Contingent
         As Representative                                            Unliquidated
         914 S. Street                                                Disputed
         Sacramento, CA 95811
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Globalisation Partners                                       Contingent
         Ton Dedman                                                   Unliquidated
         175 Federal Street, 17th Floor                               Disputed
         Boston, MA 02110
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,770,672.01
         Green Drake Limited                                          Contingent
         125 Winchester Road                                          Unliquidated
         Chandlers Ford                                               Disputed
         Eastleigh, Hampshire SO53 2DR
                                                                   Basis for the claim: Loans
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $19,000.00
         HM Weis Consulting                                           Contingent
         4221 Crawford Drive                                          Unliquidated
         Pensacola, FL 32504                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 10
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Humana                                                       Contingent
         Julie Castrup                                                Unliquidated
         PO Box 14750                                                 Disputed
         Lexington, KY 40512
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Intelication                                                 Contingent
         Calli Wright                                                 Unliquidated
         410 Berry St SE                                              Disputed
         Vienna, VA 22180
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Jason Pharmaceuticals Inc                                    Contingent
         Guru Mony                                                    Unliquidated
         100 International Drive                                      Disputed
         Baltimore, MD 21202
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Lien Solutions                                               Contingent
         PO Box 29071                                                 Unliquidated
         Glendale, CA 91209-9071                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         LSQ                                                          Contingent
         Kevin Wright                                                 Unliquidated
         315 E Robinson St., Suite 200                                Disputed
         Orlando, FL 32801
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,227.40
         Marcus H Gates Jr                                            Contingent
         13713 Grove Pond Drive                                       Unliquidated
         Midlothian, VA 23114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,000.00
         Marcus H Gates Jr                                            Contingent
         13713 Grove Pond Drive                                       Unliquidated
         Midlothian, VA 23114                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 10
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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Millennium Software Inc                                      Contingent
         Jay Patel                                                    Unliquidated
         200 Town Centre, Suite 300                                   Disputed
         Southfield, MI 48075
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $298,688.31
         Millersoft Ltd                                               Contingent
         Stuart House, Eskmills, Station Rd                           Unliquidated
         Musselburgh EH21 7PB
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50,468.79
         Peter Thompson                                               Contingent
         33 Barns Dene                                                Unliquidated
         Harpenden, Herts AL5 2HH                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         QBurst Technologies Inc                                      Contingent
         Saju Davasia                                                 Unliquidated
         4414 Roundtree Lane                                          Disputed
         Missouri City, TX 77459
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,200.00
         Rebecca E Johnson                                            Contingent
         13608 N 12th Way                                             Unliquidated
         Phoenix, AZ 85022                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,680.00
         Richard M Dawson                                             Contingent
         4600 Park Rd, Ste 104                                        Unliquidated
         Charlotte, NC 28209                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $32,900.00
         Rob Hendricks Consulting LLC                                 Contingent
         2209 E 2650 N                                                Unliquidated
         Logan, UT 84341                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Sandler Partners                                             Contingent
         Courtney Morrow                                              Unliquidated
         423 S Pacific Coast Hwy, Suite 205                           Disputed
         Redondo Beach, CA 90277
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $573.14
         SAP Concur                                                   Contingent
         Concur Technologies Inc.                                     Unliquidated
         601 108th Avenue                                             Disputed
         Bellevue, WA 98004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 8494                      Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,378.12
         Scott Sweet                                                  Contingent
         3617 Nancy Creek Rd                                          Unliquidated
         Charlotte, NC 28270                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $429.90
         Sellers, Ayres, Dortoch, Lyons                               Contingent
         301 S McDowell Street, Suite 410                             Unliquidated
         Charlotte, NC 28204                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Small Business Administration                                Contingent
         409 3rd St., SW                                              Unliquidated
         Washington, DC 20416                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $159,740.65
         Small Business Administration                                Contingent
         PO Box 3918                                                  Unliquidated
         Portland, OR 97208-3918                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number 7905
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Spry Squared                                                 Contingent
         Stephen Spry                                                 Unliquidated
         6 Inverness Court East, Suite 240                            Disputed
         Englewood, CO 80112
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Axim, Inc.                                                                      Case number (if known)
            Name

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Stafford County Public Schools                               Contingent
         31 Stafford Ave                                              Unliquidated
         Stafford, VA 22554                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         Synnex                                                       Contingent
         Adam Wilson                                                  Unliquidated
         44201 Nobel Dr                                               Disputed
         Fremont, CA 94538
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         T-Metrics Inc.                                               Contingent
         Arthur Pravato                                               Unliquidated
         4430 Stuart Andrews Boulevard                                Disputed
         Charlotte, NC 28217
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,798.63
         Terence Healy                                                Contingent
         1710 Creek Street                                            Unliquidated
         Kill Devil Hills, NC 27948                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         The Southern Bank Company                                    Contingent
         221 South 6th Street                                         Unliquidated
         Gadsden, AL 35901                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,458.00
         Trinet                                                       Contingent
         1 Park Place, Suite 600                                      Unliquidated
         Dublin, CA 94568                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         TTEC Technology, LLC
         Brian Carmichael                                             Contingent
         6500 Riverplace Boulevard                                    Unliquidated
         Building 2 Suite 301                                         Disputed
         Austin, TX 78730
                                                                   Basis for the claim: Notice Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor       Axim, Inc.                                                                             Case number (if known)
             Name

3.61      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Verizon Sourcing                                                     Contingent
          Theresa Lam                                                          Unliquidated
          One Verizon Way                                                      Disputed
          Basking Ridge, NJ 07920
                                                                           Basis for the claim: Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.62      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Viable Resources Inc.                                                Contingent
          6547 Midnight Pass Road, No. 67                                      Unliquidated
          Sarasota, FL 34242                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Notice Purposes Only
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.63      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Waterfield                                                           Contingent
          Phil Murphy                                                          Unliquidated
          130 Produce Avenue, Suite C                                          Disputed
          South San Francisco, CA 94080
                                                                           Basis for the claim: Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.64      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          WK Lien Solutions                                                    Contingent
          PO Box 29071                                                         Unliquidated
          Glendale, CA 92109-9071                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Notice Purposes Only
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.65      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,914.84
          Zoom                                                                 Contingent
          55 Almaden Blvd.                                                     Unliquidated
          San Jose, CA 95113                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.   +    $                    4,789,800.55

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        4,789,800.55




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Fill in this information to identify the case:

Debtor name       Axim, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Reseller Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Avaya Inc
                                                                                    Reema Gupta
           List the contract number of any                                          4655 Great America Parkway
                 government contract                                                Santa Clara, CA 95054


2.2.       State what the contract or            Recruiting Fee
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining
                                                                                    ConvergeOne, Inc.
           List the contract number of any                                          10900 Nesbitt Avenue South
                 government contract                                                Minneapolis, MN 55437


2.3.       State what the contract or            Master Business
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining
                                                                                    Humana
           List the contract number of any                                          500 West Main Street
                 government contract                                                Louisville, KY 40202


2.4.       State what the contract or            Master Services
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining
                                                                                    Zoom Video Communications, Inc.
           List the contract number of any                                          55 Almaden Blvd #600
                 government contract                                                San Jose, CA 95113




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Axim, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Scott Sweet                 3617 Nancy Creek Rd                                       Bank of America                    D
                                      Charlotte, NC 28270                                                                          E/F       3.14
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Axim, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                    $351.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,140,549.54
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $561,227.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Axim, Inc.                                                                         Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See Joint Exhibit to Question 4, 13 & 30                                                     $0.00
              and Notes Regarding the Debor and the
              Bankruptcy Schedules

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None


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Debtor        Axim, Inc.                                                                          Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                                                                                            11/6/23
                                                                                                                       $10,000 for
                                                                                                                       consulting
                                                                                                                       paid hourly
                                                                                                                       2/9/24
                                                                                                                       $2,045 for
                                                                                                                       consulting
                                                                                                                       paid hourly
                Moon Wright & Houston,                                                                                 2/21/24
                PLLC                                                                                                   $15,338 flat
                212 N. McDowell Street                                                                                 fee Chapter
                Suite 200                                                                                              7 case and
                Charlotte, NC 28204                      Attorney Fees                                                 filing fee               $27,383.00

                Email or website address
                ahouston@mwhattorneys.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.




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Debtor      Axim, Inc.                                                                           Case number (if known)



             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.1 Avaya Inc
      .    Reema Gupta
             4655 Great America Parkway                Intellectual Property to Support
             Santa Clara, CA 95054                     Customer                                                   January 2024                       $0.00

             Relationship to debtor



      13.2 See Joint Exhibit to Question
      .    4, 13 & 30
             and Notes Regarding the
             Debor and the
             Bankruptcy Schedules                                                                                                                    $0.00

             Relationship to debtor




 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Ascensus - Axim Global Retirement Plan                                              EIN: 232033


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Debtor      Axim, Inc.                                                                           Case number (if known)



                    Has the plan been terminated?
                      No
                      Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.
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Debtor      Axim, Inc.                                                                         Case number (if known)




      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.    Axim Inc. UK Limited                    Professional services delivering                  EIN:         12628490
            20-22 Wenlock Road                      projects and services on behalf of
            London, N1 7GU                          Axim Inc.                                         From-To      May 28, 2020 - current
            UK

   25.2.    Axim Shared Service Centre              Professional services delivering                  EIN:         3-102-800752
            CR SRL, Montes de Oca                   projects and services on behalf of
            San Pedro, San Jose 11501               Axim Inc.                                         From-To      November 9, 2020 - current
            Costa Rica


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Richard M. Dawson                                                                                                 2022 - Present
                    4600 Park Road, Suite 104
                    Charlotte, NC 28209
      26a.2.        Marina Kozak                                                                                                      2022 - Present
                    33 Barns Dene
                    Harpenden, UK
                    AL5 2HH

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


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Debtor      Axim, Inc.                                                                          Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Richard M. Dawson                                                                                               2021 - Current
                    4600 Park Road
                    Suite 104
                    Charlotte, NC 28209

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Richard M. Dawson                                                                2023 - Current
                    4600 Park Road
                    Suite 104
                    Charlotte, NC 28209

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Rodell Scott Sweet                      3617 Nancy Creek Road                               Director/Officer                          0%
                                              Charlotte, NC 28270

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Peter Thompson                          33 Barns Dene                                       Director/Officer                          0%
                                              Harpenden Herts
                                              AL5 2HH
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Green Drake Limited                     125 Winchester Road                                 Investor/Shareholder                      100%
                                              Chandlers Ford
                                              Eastleigh, Hampshire SO53 2DR
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Rebecca Johnson                                                                             Director/Officer                          0%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




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Debtor      Axim, Inc.                                                                         Case number (if known)




           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Christopher Kay                        19 St. Albans Road                                  Director/Officer                   9/30/19 - 7/31/23
                                             Halifax West Yorkshire                              0%
                                             HX3 0ND
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Terrence Healy                                                                             Director/Officer                   9/30/19 - 10/31/22
                                                                                                 0%


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 See Joint Exhibit to Question
      .    4, 13 & 30
             and Notes Regarding the
             Debor and the
             Bankruptcy Schedules

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 10, 2024

/s/ Scott Sweet                                                 Scott Sweet
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                            Joint Exhibit to SOFA Nos. 4, 13, & 30
                                    Payment to Insider - Axim Inc UK Ltd (1/1/22 - 3/15/24)
                                       Foreign        Payment
   Date       Description / Title                                         Reason                                Comment
                                      Currency         (USD)
11/13/2023   Axim Inc (UK) Ltd       £ 5,000.00   $    6,270.00 Cr card payment            B/card Payment £4,705.15

                                                                                           £11,379.96 to cover PAYE £10,287.61, £54.51, £37.84,
10/17/2023   Axim Inc (UK) Ltd                    $ 14,209.02 Payroll & other expenses
                                                                                           repay short loan to MK £1k, covering B/card Min Pmt
                                                                                           B/card £720.32, RP Accountancy £184.80, Corporation
10/04/2023   Axim Inc (UK) Ltd                    $    1,242.80 Payroll & other expenses   tax £55.29, Bank charges £8.50, Quickbooks £28.80,
                                                                                           admin £2.29
                                                                                           MK Salary £2060.31 , Quickbooks £28.80, Bank fees
08/31/2023   Axim Inc (UK) Ltd                    $    5,902.56 Payroll & other expenses
                                                                                           £8.50, Aegon Pensions contributions £2442.23

                                                                                           RP Accountancy £418.80 (mthly charge & P11d),
08/30/2023   Axim Inc (UK) Ltd                    $    1,036.88 3rd party expense
                                                                                           Peninsula HR Mthly charge £291.56, Admin £89.64

08/25/2023   Axim Inc (UK) Ltd                    $    2,298.33 HMRC                       HMRC 2022/2023 P11d payment
                                                                                           Aug 23 B/card Pmt £719.00, Canada Life insurance
08/21/2023   Axim Inc (UK) Ltd                    $    1,397.53 3rd party expense
                                                                                           £351.00
07/31/2023   Axim Inc (UK) Ltd                    $    1,450.68 3rd party expense          AXA Monthy medical charge
                                                                                           B/card Payment £649.79, Canada Life Life policy
07/17/2023   Axim Inc (UK) Ltd                    $    1,343.60 3rd party expense
                                                                                           £350.21
                                                                                           Salary CK £5,797.99, MK £1564.07,PT £6324.26, HMRC
06/30/2023   Axim Inc (UK) Ltd                    $ 31,773.68 Payroll & other expenses     PAYE £7693.35, RJ Accountancy £184.80, AXA Medical
                                                                                           £1359.26, Bank charges £9.51
                                                                                           Cottage Consultancy £2,550.00, May Pension
06/13/2023   Axim Inc (UK) Ltd                    $    6,441.50 3rd party expense
                                                                                           £2,178.02, B/card pmt £271.98
                                                                                           May 23 Salary CK £5797.99, MK £823.33, PT £6324.26,
05/30/2023   Axim Inc (UK) Ltd                    $ 20,029.28 Payroll & other expenses     CK Costa Rica expenses £1,77.33, £432.46, Bank
                                                                                           charges £8.50, Canada Life £380, Admin £266.13
                                                                                           Apr 2023 PAYE £7,377.73, egon Pension £2,178.023,
05/15/2023   Axim Inc (UK) Ltd                    $ 13,919.40 Payroll & other expenses     AXA Medical £1043.82, Peninsula HR £291.60,
                                                                                           Quickbooks £28.80, Admin £80.03
                                                                                           Apr 23 Salary, CK £5798.00, MK £823.33, PT £6,324.24,
                                                                                           RJ Accountancy £184.80, Cottage Consultancy
04/25/2023   Axim Inc (UK) Ltd                    $ 22,881.60 Payroll & other expenses
                                                                                           £2,136.00, Quickbooks £28.80, Peninsula HR £275.00,
                                                                                           Bank charges £8.50, Mics £2,421.33

04/19/2023   Axim Inc (UK) Ltd                    $ 14,411.14 Payroll & other expenses     March 23 PAYE £10,314.39, B/card pmt £1000.00

04/05/2023   Axim Inc (UK) Ltd                    $    7,035.05 Payroll                    PT March Salay £5,500.00

                                                                                           March 23 Salary CK £5704.80, MK £942.08, AXA
                                                                                           Medical £1,043.82, Aegon March Pension £2,189.27,
03/29/2023   Axim Inc (UK) Ltd                    $ 17,055.90 Payroll & other expenses     Cottage Consulatancy £2,587.00, RJ Accountancy
                                                                                           £178.99, Bank charges £8.50, Quickbooks £28.80,
                                                                                           Advance PT March Salary, Peninsula £272.20

03/22/2023   Axim Inc (UK) Ltd                    $ 15,087.60 Payroll & other expenses     Feb PAYE £10,000.00, Aegon Feb Pension £2,000.00

03/01/2023   Axim Inc (UK) Ltd                    $    7,394.40 Payroll                    Feb Salary PT £6,000.00

02/23/2023   Axim Inc (UK) Ltd                    $    8,013.85 Payroll & other expenses   Feb 23 Salary CR £5,704.80, AXA Medical £795.20
                                                                                           B/card pmt £3,017.94, MK Salary £823.33, PT £156.26,
02/17/2023   Axim Inc (UK) Ltd                    $    5,874.95 Payroll & other expenses
                                                                                           Admin £798.35
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                                                                                      Aegon Jan Pension £2,200.52, PAYE £7,691.91,
02/16/2023   Axim Inc (UK) Ltd                $ 17,917.65 3rd party expense
                                                                                      Managed 247 Ltd Contractor £4,536.58, admin £70.99

01/31/2023   Axim Inc (UK) Ltd                $   3,405.81 3rd party expense
                                                                                      Jan 23 Salary CK £5,704.80, MK £1042.19, PT£8814.23,
01/26/2023   Axim Inc (UK) Ltd                $ 24,097.70 Payroll & other expenses    Inaccord Contractor £3,136.00, Canada Life Insurance
                                                                                      £302.78
                                                                                      Dec 22 PAYE, Canada Life Insurance £350.21, Aegon
01/18/2023   Axim Inc (UK) Ltd                $ 17,057.63 Payroll & other expenses
                                                                                      Pension £2,216.27, Admin £149.79
12/29/2022   Axim Inc (UK) Ltd                617.30       3rd party expense          Admin Charges

                                                                                      Dec Salary CK £5,704.80, MK £1,154.44, PT £5,816.27,
12/23/2022   Axim Inc (UK) Ltd                30,940.00    Payroll & other expenses   Inaccord Contractor Charge £2,066.40, Cottage
                                                                                      Consultancy £8,700.00, Admin £1,345.99

12/16/2022   Axim Inc (UK) Ltd                13,735.70    Payroll & other expenses   PAYE £10,743.27, Admin £256.73
                                                                                      Aegon Pension £2,209.52, Admin £6.48, MRP
12/05/2022   Axim Inc (UK) Ltd                19,344.00    3rd party expense
                                                                                      Contracot £7,128.00, £6156.00
                                                                                      Peninsula HR £272.50, Nov 22 Salary CK £5,704.80, MK
                                                                                      £1,097.59, PT £5,816.27, Contractor Inaccord £696.00,
11/28/2022   Axim Inc (UK) Ltd                26,036.49    Payroll & other expenses
                                                                                      Contractor Cottage Consultancy £6,300.00, AXA
                                                                                      Medical £1,043.82, Admin £49.27

                                                                                      PAYE £11,340.94, Aegon Oct Pension £2,270.27,
11/16/2022   Axim Inc (UK) Ltd   £14,000      17,067.40    Payroll & other expenses
                                                                                      Canada Life Insurance £172.26, £177.98, Admin £38.55
                                                                                      Contractor Inaccord £2,620.23, Contractor Cottage
10/27/2022   Axim Inc (UK) Ltd   £4,458.00    5,290.31     3rd party expense
                                                                                      Consultancy £2,670.08
                                                                                      Oct 22 Salary CK£ 5,592.90, PT £5,696.06, MK
10/27/2022   Axim Inc (UK) Ltd   £13,585.02   16,121.34    Payroll & other expenses
                                                                                      £1,252.26, AXA Medical £1,043.82
10/26/2022   Axim Inc (UK) Ltd                8,870.86     3rd party expense          MRP £7,452.00 £1 = $1.1904
10/25/2022   Axim Inc (UK) Ltd                3,838.88     3rd party expense
                                                                                      RJ Accountancy £178.99, Peninsula HR £272.50, AXA
10/13/2022   Axim Inc (UK) Ltd   £1,880.45    2,164.99     3rd party expense          Medical £1,043.82, bank charges £8.50, Quickbooks
                                                                                      £26.40, Canadal Life £350.24
                                                                                      PAYE Sept 22 £11,376.37, Aegon pension Sept
10/13/2022   Axim Inc (UK) Ltd   £13,615.14   15,729.32    Payroll & other expenses
                                                                                      £2,238.77
                                                                                      Sept 22 Salary CK £5,592.90, PT £5,696.04, MK
09/28/2022   Axim Inc (UK) Ltd                22,507.13    Payroll & other expenses   £1,299.37, Inaccots Contractor £3,312, Contractor
                                                                                      Cottage Consultancy £3,750.00
09/14/2022   Axim Inc (UK) Ltd   £11,900      14,060.90    3rd party expense          June 22 PAYE £11,340.94, admin £559.06
                                                                                      Contractor MRP Group £1,296.00, MRP Group
09/14/2022   Axim Inc (UK) Ltd   £8,100       9,577.10     Payroll & other expenses
                                                                                      £6,804.00
                                                                                      Aug 22 Salary CK £5,592.90, PT £5,696.04, MK
                                                                                      £1,252.26, Mercer £1,681.00, RPJ Accountancy
                                                                                      £178.99, peninsula HR £272.50 AXA Health £1,043.82,
08/25/2022   Axim Inc (UK) Ltd                21,056.30    Payroll & other expenses   Quickbooks £26.40, Bank charges £8.50, UK Concur
                                                                                      espense softwre £291.50, Canada Life insurance
                                                                                      £172.00, Segement £129.69, Admin and B/card
                                                                                      £100.40
                                                                                      Contractors Cottage Consultancy and Inaccord £3,370
08/25/2022   Axim Inc (UK) Ltd                4,435.60     3rd party expense
                                                                                      , Admin £284
08/12/2022   Axim Inc (UK) Ltd                18,039.45    Payroll & other expenses   June 22 PAYE £11,340.94 and admin £559.06
07/29/2022   Axim Inc (UK) Ltd   £2,550.00    3,192.86     3rd party expense          UK Contractor Cottage Consultancy
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                                                                                     July 22 Salary CK £5,927.88, PT £5,766.62, MK
                                                                                     £899.29, Managed service provider £3,789.50, RPJ
07/28/2022   Axim Inc (UK) Ltd   £19,000.00   23,738.60   Payroll & other expenses   Accountancy £178.99, Peninsula HR £272.50, CK Staff
                                                                                     exoenses £1,172.11 CR Trip, AXA Medical £990.34,
                                                                                     admin £2.77
                                                                                     June 22 PAYE £10,738.10, Accountancy Charge
07/18/2022   Axim Inc (UK) Ltd   £11,500.00   14,092.10   Payroll & other expenses   Benefits in Kind £300, Canada Life Insurance £317.24,
                                                                                     Admin £144.66
                                                                                     June 22 Aegon Pensions £2,187.02, AXA medical
                                                                                     £990.34, Quickbooks £26.40, B/card £358.31, Bank
07/07/2022   Axim Inc (UK) Ltd   £500.00      6,149.50    3rd party expense          charges £8.50, Segment £103.12, Admin £156.31,
                                                                                     Contracots Cottage Consultancy £900.00, Inaccord
                                                                                     £270.00
                                                                                     June 22 Salary CK £5,927.88, PT £5,766.62, MK
                                                                                     £899.29, RPJ Accountancy £178.99, Peninsula HR
06/23/2022   Axim Inc (UK) Ltd                22,478.40   Payroll & other expenses   £254.67, B/card £3,561.89, Segment £100.76,
                                                                                     Quickbooks £26.40, Bank charges £8.50, Contractor
                                                                                     Cottage Consultancy £1,275.00
                                                                                     May 22 PAYE £8,884.43, Aegon Pension £2,247.77, P
06/15/2022   Axim Inc (UK) Ltd                18,750.00   3rd party expense          Thompson PSS Expenses £445.91,£548.34, B/card
                                                                                     £2,556.31
                                                                                     UK Month end Payroll £3700, Payroll split as tfr below
05/26/2022   Axim Inc (UK) Ltd                4,903.90    Payroll & other expenses
                                                                                     $5k US
05/26/2022   Axim Inc (UK) Ltd                4,774.85    Payroll & other expenses   UK Month end Payroll £3700
05/26/2022   Axim Inc (UK) Ltd                4,645.80    Payroll & other expenses   UK Month end Payroll £3600
05/26/2022   Axim Inc (UK) Ltd                4,519.90    Payroll & other expenses   UK Month end Payroll £3500
                                                                                     Payment split over 4 invoices Ap 22 Aegon Pensions
05/18/2022   Axim Inc (UK) Ltd                2,870.41    3rd party expense
                                                                                     £2,178.02
                                                                                     Quickbooks £15.60, bank charges £8.50, Canada Life
05/18/2022   Axim Inc (UK) Ltd                3.84        3rd party expense          Insurance £317.24, Peninsula HR £254.67, RPJ
                                                                                     Accountancy £178.99
05/18/2022   Axim Inc (UK) Ltd                2,812.69    3rd party expense
05/18/2022   Axim Inc (UK) Ltd                10,085.85   3rd party expense          April PAYE £7,810.87
                                                                                     Salary PT £5,766.63, CK £5,928.29, MK $817.54, Admin
04/27/2022   Axim Inc (UK) Ltd                16,096.02   Payroll & other expenses
                                                                                     £775.00
04/27/2022   Axim Inc (UK) Ltd                996.98      3rd party expense
                                                                                     Contractors Inaccord £300, Cottage Consultancy
04/27/2022   Axim Inc (UK) Ltd                1,642.03    3rd party expense
                                                                                     £1125.00
04/27/2022   Axim Inc (UK) Ltd                1,833.12    3rd party expense
04/19/2022   Axim Inc (UK) Ltd                13,480.78   Payroll & other expenses   March 22 PAYE £10,100.23

04/19/2022   Axim Inc (UK) Ltd                1,563.84    3rd party expense          Contractor Managed 247 Task Fire Licensces £1,71.68

04/14/2022   Axim Inc (UK) Ltd   £4,320.00    5,817.31    Bill Payment               Cognisys # Inv 1855 £4320
04/08/2022   Axim Inc (UK) Ltd                2,912.67    3rd party expense          Aegon Pensions £2,178.02
03/29/2022   Axim Inc (UK) Ltd   £1,032.00    1,386.64    3rd party expense          Contractor Cottage Consultancy £1,032.00

                                                                                     Mar 22 AXA Medical £990.34, Quickbooks £18, Bank
03/29/2022   Axim Inc (UK) Ltd                2,382.94    3rd party expense          charges £8.50, Canada Life Insurance £317.24,
                                                                                     Peninsula HR £254.67, RPJ Accountancy £178.99,
                                                                                     March 22 Salary CK £5,991.07, PT £6,038.55, MK
03/29/2022   Axim Inc (UK) Ltd   £12,889.59   17,354.53   Payroll & other expenses
                                                                                     £859.97
03/28/2022   Axim Inc (UK) Ltd   £3,523.75    4,737.33    3rd party expense          Reimburesement of PJT Expenses from 10/09/2020

03/21/2022   Axim Inc (UK) Ltd   £12,453.15   16,803.04   Payroll & other expenses   Feb 22 Aegon Pension £2,207.27, PAYE £10,245.88
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                                                                                     Feb 22 AXA Medical £990.34, Quickbooks £15, Bank
                                                                                     charges £8.50, Canada Life Insurance £317.24,
03/11/2022   Axim Inc (UK) Ltd                2,510.77    Payroll & other expenses
                                                                                     Peninsula HR £254.67, RPJ Accountancy £178.99,
                                                                                     B/card £70.65, ICO £40
03/11/2022   Axim Inc (UK) Ltd                1,381.64    3rd party expense          Contractor Cottage Consulatancy £1,032.00
                                                                                     UK Contractors Cottage Consultancy and In aacord
02/23/2022   Axim Inc (UK) Ltd   £2,337.00    3,255.67    3rd party expense
                                                                                     £2337
02/23/2022   Axim Inc (UK) Ltd   £13,097.54   18,246.19   Payroll & other expenses   UK Feb 22 Payroll
02/23/2022   Axim Inc (UK) Ltd                2,492.57    3rd party expense
02/23/2022   Axim Inc (UK) Ltd                25.04       3rd party expense
                                                                                     Jan 22 PAYE £9,845.82, RPJ Accountancy £149.16,
02/17/2022   Axim Inc (UK) Ltd   £10,279.48   14,364.55   Payroll & other expenses
                                                                                     Peninsula HR £212.23
                                                                                     Jan22 Aegon Pensions £2,178.02, Accountancy P11D
02/10/2022   Axim Inc (UK) Ltd                7,018.30    3rd party expense          £250.00, HMRC P11D £1,896.10, Concur expense
                                                                                     system £349.80, Canada Life Insurance £317.24
                                                                                     Jan 22 Salary CK £5,991.08, PT £6,292.95, MK £859.97,
                                                                                     RPJ Accountancy £178.99, Peninsula HR £254.67,
01/28/2022   Axim Inc (UK) Ltd   £16,118.66   22,111.58   Payroll & other expenses
                                                                                     Humana Support £1,725.00, Contractor Inaccord
                                                                                     £816.00
01/24/2022   Axim Inc (UK) Ltd   £10,008.19   13,802.29   Payroll & other expenses   Dec 21 PAYE £10,008.19

                                                                                     Website £420.00, PJT Expenses CR Nov trip £1,804.69,
01/07/2022   Axim Inc (UK) Ltd   £5,044.20    7,032.16    3rd party expense          Dec 21 Aegon pensions £2,211.77, Canada Life
                                                                                     Insurance £317.24, Laptop £279, Admin £11.50

01/07/2022   Axim Inc (UK) Ltd   £1,184.66    1,618.48    3rd party expense          CR expenses PJT £1,184.66
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                                                 Joint Exhibit to SOFA Nos. 4, 13, & 30
                                    Payment to Insider - Axim SSC SRL - Costa Rica (1/1/22 - 3/15/24)
   Date             Description/Title        Payment (USD)           Reason                                 Comment

11/13/2023 Axim Shared Services CR S.R.L.    $   47,558.00 Payroll             Nov mid-month

                                                                               Oct 23 Month end, Wework $8,495, BHL $2,853.08, Procomer $255,
10/26/2023 Axim Shared Services CR S.R.L.    $   21,000.00 3rd party expense   Bank fee $31.47, GPS $750, Global Services $357.14, Bank fee
                                                                               $31.47, ASSA Medical $1,507.11 & $77.11, bank fee $3

10/26/2023 Axim Shared Services CR S.R.L.    $   40,000.00 Payroll             Oct 23 Month end, SCP $39,691.34 and $925.00
10/13/2023 Axim Shared Services CR S.R.L.    $    6,100.00 3rd party expense   Think House (KB) #007 and # 008 $3,000.00 each
                                                             Payroll & other
10/10/2023 Axim Shared Services CR S.R.L.    $   41,000.00                     Oct Mid month, SCP $40,620.58, bank fees $40
                                                             expenses

                                                                               BHL Aug $2,853.08, BHL $3055.68, WeWork Aug $10,225.90, Wework
10/04/2023 Axim Shared Services CR S.R.L.    $   35,000.00 3rd party expense   Sept $9917.43, ASSA $871.33, Procomer $513, Expenses Garcia
                                                                               $16.52, Expenses K Parratars $376.33, EA $7,294.28

09/27/2023 Axim Shared Services CR S.R.L.    $   35,000.00 Payroll             Sept 22 Month end SCP $41,412.19
                                                                               Sept 22 mid month SCP $40,522.74, split with Invoice below #80,
09/14/2023 Axim Shared Services CR S.R.L.    $   25,000.00 3rd party expense
                                                                               ASSA Medical $1,422.50, Think House $3,000.00

                                                             Payroll & other   Sept 22 mid month SCP $40,522.74, split with Invoice above #81, Bank
09/13/2023 Axim Shared Services CR S.R.L.    $   25,000.00
                                                             expenses          fees $37.47, $3, $37.47, Staff expenses KB $685.80

                                                             Payroll & other   Aug Mth end pay, SCP $52,769.65, Bank fees $246,$40$39.72, $3
08/29/2023 Axim Shared Services CR S.R.L.    $   26,500.00
                                                             expenses          Linked to Invoice #78 see below

                                                             Payroll & other   Aug Mth end pay, SCP $52,769.65, Bank fees $246,$40$39.72, $3
08/29/2023 Axim Shared Services CR S.R.L.    $   27,000.00
                                                             expenses          Linked to Invoice #79 see above

08/22/2023 Axim Shared Services CR S.R.L.    $   49,500.00 Payroll             Aug 22 Mid Month end SCP $47,303.15
08/09/2023 Axim Shared Services CR S.R.L.    $    4,000.00 3rd party expense   BHL $2,877.15, Procomer $300, Bank fees $100, Admin $600

                                                                               Think House $3,000, Procomer $300, ASSA Medical $1,186.26,
07/31/2023 Axim Shared Services CR S.R.L.    $   63,000.00 3rd party expense   Wework $9,725.73, SCP Admin $1380, SCP $47,746.26 from July 23 -
                                                                               late paying

07/11/2023 Axim Shared Services CR S.R.L.    $    7,000.00 3rd party expense   Project Venus $4,515.45, ASSA medical $1,258.37
07/11/2023 Axim Shared Services CR S.R.L.    $   50,000.00 Payroll             SCP $56,107.65 CHECK QBO
                                                                               WeWork $9,641.34, BHL $2,853.08, Electronet $129.75, Nortec
07/03/2023 Axim Shared Services CR S.R.L.    $   25,000.00 3rd party expense
                                                                               $7,467.72, Recluta $1,900, Recluta $3000, Fees $37.47, $3, $58.48

                                                             Payroll & other   SCP $46,945.14, SCP Admin $1350, Procomer $349.50, Bank fees $3,
06/27/2023 Axim Shared Services CR S.R.L.    $   50,000.00
                                                             expenses          $40

                                                             Payroll & other   June 22 mid month SCP $45884.64, staff expenses GS $223.88, bank
06/12/2023 Axim Shared Services CR S.R.L.    $   50,000.00
                                                             expenses          fees $40 Mark up

06/08/2023 Axim Shared Services CR S.R.L.    $    1,000.00 Expense             Bank account top up as less than $123 in account

                                                                               May mth end, SCP $49,984.95 Wework $9,617.43, BHL $2,853.08,
05/30/2023 Axim Shared Services CR S.R.L.    $   36,000.00 3rd party expense   ASSA Medical $1,114.15, Recluta $6,500, Procomer $351, Bank
                                                                               charges $9, see below Inv # 66

05/26/2023 Axim Shared Services CR S.R.L.    $   30,000.00 Payroll             May 23 month end, SCP $49,984.95, see Inv # 68 above
05/25/2023 Axim Shared Services CR S.R.L.    $     500.00 3rd party expense    Recluta $500
                                                             Payroll & other   SCP May mid mth pay run $48,258.18, ASSA Medical $11,86.26, Bank
05/10/2023 Axim Shared Services CR S.R.L.    $   20,000.00
                                                             expenses          charges $3, GS Staff expenses $42.2

                                                             Payroll & other   SCP May mid mth pay run $48,258.18, ASSA Medical $11,86.26, Bank
05/09/2023 Axim Shared Services CR S.R.L.    $   30,000.00
                                                             expenses          charges $3, GS Staff expenses $42.2

04/25/2023 Axim Shared Services CR S.R.L.    $   35,000.00 3rd party expense   Procomer $345, April mth end CHECK
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                                                             Payroll & other     April Mth end, Procomer $345, Wework, $9,740.5, BHL $2,853.08,
04/24/2023 Axim Shared Services CR S.R.L.   $    30,000.00
                                                             expenses            SCP

04/10/2023 Axim Shared Services CR S.R.L.   $    30,000.00 Payroll               SCP Apr Mid mth
04/10/2023 Axim Shared Services CR S.R.L.   $    22,000.00 Payroll               SCP Apr Mid mth
                                                             Payroll & other
03/28/2023 Axim Shared Services CR S.R.L.   $    10,000.00                       SCP $3,933.57, Recluta $5,500, Procomer $346.80, Admin $219.63
                                                             expenses

03/27/2023 Axim Shared Services CR S.R.L.   $    45,000.00 Payroll               SCP Mth end
                                                                                 March Mth end Wework $9,247.50, SCP Medical $1,200.00, SCP
03/22/2023 Axim Shared Services CR S.R.L.   $    15,000.00 3rd party expense
                                                                                 Admin $1,500, BHL $2467.50, Admin $585
                                                           Payroll & other
03/13/2023 Axim Shared Services CR S.R.L.   $     5,000.00                       March 1 st cycle $43,677.11, ASSA adj $72.11
                                                           expenses
03/09/2023 Axim Shared Services CR S.R.L.   $    40,000.00 Payroll               SCP March 1st cycle $43,677.11
02/23/2023 Axim Shared Services CR S.R.L.   $    17,600.00 3rd party expense     Corp Withholding tax
02/21/2023 Axim Shared Services CR S.R.L.   $    40,000.00 Payroll               SCP Feb mth end $40,907.13

                                                                                 WeWork $9,353.95, BHL $2,863.80, SCP admin $1500.00, Procomer
02/16/2023 Axim Shared Services CR S.R.L.   $    16,000.00 3rd party expense
                                                                                 $300, ASSA Medical $1,200, Bank $20.35, mark up $761.90

02/13/2023 Axim Shared Services CR S.R.L.   $    10,000.00 Payroll               SCP PSS/C1 $5616.47, PSS/Vox $3,796.98
02/10/2023 Axim Shared Services CR S.R.L.   $    12,000.00 Payroll               SCP PSS/C1
02/06/2023 Axim Shared Services CR S.R.L.   $    20,000.00 Payroll               SCP 1st Cycle Feb
                                                             Payroll & other     SCP mth end $30,995.51, Tfr to Colonees account $4,794.46, ASSA
01/25/2023 Axim Shared Services CR S.R.L.   $    45,000.00
                                                             expenses            Medical $1,114.15 plus admin

                                                                                 Wework $9,247.50, BHL $2,467.50, Procomer $303, Recluta $4000,
01/23/2023 Axim Shared Services CR S.R.L.   $    16,000.00 3rd party expense
                                                                                 Dismissals catch up $545, Mth 13 catch up $700, Bank charges $90.35

                                                             Payroll & other     SCP mth end $32,396.39, Mth 13 $700, Dismissals$545, Recluta
01/11/2023 Axim Shared Services CR S.R.L.   $    35,000.00
                                                             expenses            $2000.00, Bank fees $10
                                                             Payroll & other
12/22/2022 Axim Shared Services CR S.R.L.   16,000.00                            SCP $15,187.30, Admin $812.70
                                                             expenses
                                                             Payroll & other     Wework $9,247.50, BHL $2617.50, Procomer $240, Mth 13 adj
12/21/2022 Axim Shared Services CR S.R.L.   40,000.00
                                                             expenses            $17,023.49, SCP

12/12/2022 Axim Shared Services CR S.R.L.   5,000.00         3rd party expense   SCP Fee $1380, Medical Insurance $1,238.67, Baras $2,000
                                                             Payroll & other     Recluta $1,800, bank fees $15, staff expenses $285.00, $77.59, SCP
12/12/2022 Axim Shared Services CR S.R.L.   20,000.00
                                                             expenses            dec mid mth
                                                             Payroll & other
12/05/2022 Axim Shared Services CR S.R.L.   20,000.00                            SCP 1st cycle Dec 22 $19,116.39 & Admin
                                                             expenses
                                                             Payroll & other
11/18/2022 Axim Shared Services CR S.R.L.   40,000.00                            SCP $37,539.06, ASSA Medical £1258.37
                                                             expenses
11/16/2022 Axim Shared Services CR S.R.L.   10,000.00        Payroll             SCP, build up reserve
                                                             Payroll & other     SCP PSS/C1 $17,217.52, EA $6,587.82, Ops $3561.07, EC ops
11/10/2022 Axim Shared Services CR S.R.L.   30,000.00
                                                             expenses            $554.04, Admin $650.98

                                                                                 WeWork $9,272.50, SCP admin $1375, BHL $2,617.50, Recluta
                                                             Payroll & other     $4,400.00, Nortec $1,355.05, SCP PSS/C1 $21,693.80, PSS/Vox
10/20/2022 Axim Shared Services CR S.R.L.   58,800.00
                                                             expenses            $3,406.46, PSS/Gen $555.07, EA$6,600.01, Ops corp $3,599.98, EC
                                                                                 Ops $555.07, Sales $669.13
                                                             Payroll & other
10/11/2022 Axim Shared Services CR S.R.L.   40,000.00                            SCP 1st cycle $31,334.82, GPS $1,435.97
                                                             expenses

                                                             Payroll & other     WeWork $9,247.50, BHL $2,467.50, Procomer $200, SCP Admin
09/23/2022 Axim Shared Services CR S.R.L.   53,000.00
                                                             expenses            $1350.00, SCP mth end

09/13/2022 Axim Shared Services CR S.R.L.   5,000.00         Bill Payment        Recluta $4250.00, Admin $750.00

                                                             Payroll & other
09/12/2022 Axim Shared Services CR S.R.L.   34,000.00                            SCP 1st cycle $32,049.41, Tfr to Colones acct, admin
                                                             expenses
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                                                           Payroll & other     Wework, $9,247.50, BHL $2467.50, SCP Admin $1350, Recluta
08/18/2022 Axim Shared Services CR S.R.L.   45,000.00
                                                           expenses            $1,500, Nortec $1458.28, $754.95, SCP Mth end

08/11/2022 Axim Shared Services CR S.R.L.   10,000.00      Payroll             SCP AuG mid mth Link to # 30

08/04/2022 Axim Shared Services CR S.R.L.   20,000.00      Payroll             SCP Aug mid mth $32,022.90
07/25/2022 Axim Shared Services CR S.R.L.   30,000.00      Payroll             SCP July Mth end $30,173.98
07/22/2022 Axim Shared Services CR S.R.L.   15,000.00      Payroll             SCP July mid month SCP $26,480.99, link to # 27
07/18/2022 Axim Shared Services CR S.R.L.   15,000.00      Payroll             SCP July mid month build up reserve

                                                                               WeWork $9247.50, BHL $2,477.50, Procomer $213, Medical Insurance
                                                           Payroll & other
06/23/2022 Axim Shared Services CR S.R.L.   45,000.00                          $1365, GPS Recruitment $870.00, SCP Admin $1,365.00, Nortec
                                                           expenses
                                                                               $1552.93, SCP mth end

                                                           Payroll & other
06/15/2022 Axim Shared Services CR S.R.L.   27,000.00                          SCPJune 22 Mid Month $25,527.70, Admin
                                                           expenses

                                                                               May mth end, Wework $9,247.50, BHL $2467.50, Procomer $204.66,
                                                           Payroll & other
05/26/2022 Axim Shared Services CR S.R.L.   45,000.00                          Medical Insurance $579.73, medical Insurance CG $2013.48, SCP
                                                           expenses
                                                                               Admin $1400.00, SCP mth end

                                                           Payroll & other
05/12/2022 Axim Shared Services CR S.R.L.   26,000.00                          SCP May mid month $25,362.32, Admin $637.68
                                                           expenses

                                                                               April mth end, Wework $9,247.50, BHL $2,467.50, SCP Admin
                                                           Payroll & other
04/22/2022 Axim Shared Services CR S.R.L.   43,000.00                          $1350.00, Procomer $200.00, Recluta $500, Medical Insurance
                                                           expenses
                                                                               $723.95, SCP mth end $24,889.90

                                                           Payroll & other     SCP April 22 Mid month $24,009.78, Tfr to Colones acct $73.52, fees
04/08/2022 Axim Shared Services CR S.R.L.   25,250.00
                                                           expenses            $5

03/28/2022 Axim Shared Services CR S.R.L.   30.00          Expense
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00       3rd party expense
03/28/2022 Axim Shared Services CR S.R.L.   9,970.00       3rd party expense   WEWork $9,247.50 & Admin

                                                           Payroll & other     Could not transfer large amount, so had to make 6 payments under
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00
                                                           expenses            $5k, no 'bank dongle'

                                                           Payroll & other     SCP $17,795.24, SCP Admin $1,350.00, Wework $9,247.50, BHL
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00
                                                           expenses            $2467.50, GPS $736.56, Colones acct $538, Fees $227.40 & Admin

                                                           Payroll & other
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00
                                                           expenses
                                                           Payroll & other
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00
                                                           expenses
                                                           Payroll & other
03/28/2022 Axim Shared Services CR S.R.L.   4,995.00
                                                           expenses
03/09/2022 Axim Shared Services CR S.R.L.   50.00          3rd party expense   US Bank fees
                                                           Payroll & other
03/09/2022 Axim Shared Services CR S.R.L.   4,950.00
                                                           expenses

                                                           Payroll & other     SCP mid month March 22 $29,962.79, Expenses $25.24, Bank fees
03/09/2022 Axim Shared Services CR S.R.L.   27,970.00
                                                           expenses            $5.75

03/09/2022 Axim Shared Services CR S.R.L.   30.00          Payroll             US Bank fees

                                                                               Feb 22 Month end, Wework $9,247.50, BHL $2467.50, Procomer $200,
                                                           Payroll & other
02/23/2022 Axim Shared Services CR S.R.L.   48,800.00                          SCP Admin $2,073.95, SCP/GPS $600, GPS $660, Laptop $1357.25,
                                                           expenses
                                                                               CG Exps $300.74, SCP Feb Month end $27,555.15

02/10/2022 Axim Shared Services CR S.R.L.   27,000.00      Payroll             SCP Feb 22 Mid month £28,649.58, & Admin

                                                                               Jan 22 month end, Wework $9,247.50, BHL $2,350.00, SCP Admin
                                                           Payroll & other
01/24/2022 Axim Shared Services CR S.R.L.   42,062.30                          $1350.00, Medical Insurance $723.95, GPS Recruitment $3,400.00,
                                                           expenses
                                                                               Staff Expenses $41.76, admin bank fees $200, SCP $22,737.88
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01/07/2022 Axim Shared Services CR S.R.L.   23,064.05   Payroll       SCP $21,918.15 plus admin
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                            Joint Exhibit to SOFA Nos. 4, 13, & 30
                       Payment to Insiders - individuals (1/1/22 - 3/15/24)
     Date              Payee            Description/Title   Payment (USD)                      Comment

11/21/2023   Peter Thompson                  COO            $   14,940.15 UK Contractor July Fees
11/06/2023   Chris Kay                       CTO            $    1,270.50 UK Contractor July Fees - payment on account
11/06/2023   Peter Thompson                  COO            $    5,810.40 T&E expenses
07/03/2023   Peter Thompson                  COO            $   21,281.11 PJT short term liquidity loan repayment
06/20/2023   Scott Sweet                     CEO            $       36.21 T&E expenses - debit card
06/09/2023   Peter Thompson                  COO            $   12,868.00 PJT short term liquiduty loan repayment
05/15/2023   Scott Sweet                     CEO            $    2,000.00 SS short term liquidity loan repayment
04/04/2023   Rebecca Johnson                 CKO            $    1,350.52 T&E expenses
01/31/2023   Peter Thompson                  COO            $    1,265.80 T&E expenses
01/31/2023   Scott Sweet                     CEO            $    1,000.00 T&E expenses
12/05/2022   Scott Sweet                     CEO            $      500.00 T&E expenses
12/05/2022   Peter Thompson                  COO            $      624.00 T&E expenses
11/01/2022   Scott Sweet                     CEO            $      500.00 T&E expenses
11/01/2022   Peter Thompson                  COO            $      587.60 T&E expenses
10/14/2022   Scott Sweet                     CEO            $       32.04 T&E expenses - debit card
09/30/2022   Scott Sweet                     CEO            $       49.72 T&E expenses - debit card
09/30/2022   Scott Sweet                     CEO            $      450.28 T&E expenses - debit card
09/30/2022   Peter Thompson                  COO            $      572.80 T&E expenses
08/30/2022   Scott Sweet                     CEO            $    1,000.00 T&E expenses
08/30/2022   Peter Thompson                  COO            $    1,195.00 T&E expenses
08/08/2022   Scott Sweet                     CEO            $    1,255.70 T&E expenses
07/05/2022   Scott Sweet                     CEO            $       38.76 T&E expenses - debit card
07/01/2022   Scott Sweet                     CEO            $    1,500.00 T&E expenses
07/01/2022   Peter Thompson                  COO            $    1,851.45 T&E expenses
06/15/2022   Scott Sweet                     CEO            $       62.84 T&E expenses - debit card
06/13/2022   Scott Sweet                     CEO            $      149.08 T&E expenses - debit card
04/19/2022   Ms Rebecca Johnson              CKO            $      890.15 T&E expenses
03/29/2022   Scott Sweet                     CEO            $    3,000.00 T&E expenses
03/28/2022   Peter Thompson                  COO            $    4,039.20 T&E expenses
01/20/2022   Peter Thompson                  CEO            $    4,191.60 PJT short term liquidity loan repayment
01/20/2022   Scott Sweet                     CEO            $   11,000.00 SS short term liquidity loan repayment


                   P Thompson - Business expenses paid by Axim Inc UK Ltd*
     Date              Payee            Description/Title       Total                           Comment
8/2/2023     Peter Thompson (GBP)             COO           $    2,049.08 T&E expenses
10/26/2023   Peter Thompson (GBP)             COO           $    1,105.00 T&E expenses
10/26/2022   Peter Thompson (GBP)             COO           $    1,991.44 T&E expenses
10/22/2022   Peter Thompson (GBP)             COO           $      333.74 T&E expenses
10/26/2022   Peter Thompson (GBP)             COO           $      539.36 T&E expenses
5/11/2022    Peter Thompson (GBP)             COO           $      658.01 T&E expenses
5/11/2022    Peter Thompson (GBP)             COO           $      535.09 T&E expenses
6/1/2022     Peter Thompson (GBP)             COO           $    1,410.07 T&E expenses
6/1/2022     Peter Thompson (GBP)             COO           $    2,165.63 T&E expenses

                                  C Kay - Business expenses paid by Axim Inc UK Ltd*
     Date              Payee            Description/Title       Total                           Comment
10/7/2023    Chris Kay (GBP)                  CTO           $    1,683.43 T&E expenses
6/19/2023    Chris Kay (GBP)                  CTO           $      599.45 T&E expenses
6/19/2023    Chris Kay (GBP)                  CTO           $    2,060.80 T&E expenses
1/23/2023    Chris Kay (GBP)                  CTO           $      423.47 T&E expenses
8/16/2022    Chris Kay (GBP)                  CTO           $    1,406.53 T&E expenses
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11/5/2022       Chris Kay (GBP)                CTO        $      338.65 T&E expenses
3/30/2022       Chris Kay (GBP)                CTO        $    1,462.20 T&E expenses
2/7/2022        Chris Kay (GBP)                CTO        $      261.80 T&E expenses

* These expense payments were included in the payments from Axim Inc to Axim UK and then subsequently paid to the
employees. Expense claims were submitted in £ and have been converted to $ using the rate £1 = $1.2 for forex purposes
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                                                                           Axim Inc - Officers
                                                                              Document         Directorships
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                                                                                                           Directorships
                       Description / Country of Director                                                                                                               Stock holding
       Name                                                            Axim Inc - USA                 Axim Inc (UK) Ltd - UK       Axim SSC SRL - C Rica
                          title       domicile    Y/N
                                                                   From               To              From               To       From               To     Axim Inc     Axim UK       Axim CR
Scott Sweet                CEO           USA         Yes          9/26/16           Current          5/28/20          Current   9/11/2020         Current     0%           0%            1%
Peter Thompson*            COO           UK          Yes          9/30/19           Current          5/28/20          Current   9/11/2020         Current     0%           0%            1%
Christopher Kay*           CTO           UK          Yes          9/30/19          7/31/23           5/28/20          7/31/23       n/a             n/a       0%           0%            0%
Rebecca Johnson            CKO           USA         Yes          9/30/19           Current            n/a              n/a         n/a             n/a       0%           0%            0%
Terrence Healy             CRO           USA         Yes          9/30/19          10/31/22            n/a               n/a        n/a             n/a       0%           0%            0%


                      Axim Inc - Officers (Insiders) Salary & Benefits
                       Description /                         2022 Salary & Benefits Info
       Name
                          title
                                             Period               Salary           Benefits           Total
Scott Sweet                CEO          1/1/22 - 12/31/22     $     150,000    $       43,177    $      193,177
Peter Thompson*            COO          1/1/22 - 12/31/22     $     144,000    $       16,352    $      160,352
Christopher Kay*           CTO          1/1/22 - 12/31/22     $     136,200    $       11,430    $      147,630
Rebecca Johnson            CKO          1/1/22 - 12/31/22     $     172,500    $       26,680    $      199,180
Terrence Healy             CRO          1/1/22 - 10/31/22     $     147,940    $       12,758    $      160,698

                       Description /                         2023 Salary & Benefits Info
       Name
                          title
                                               Period              Salary           Benefits          Total
Scott Sweet                 CEO          1/1/23 - 10/31/23     $       71,042 $         33,107   $      104,149
Peter Thompson*            COO            1/1/23 - 7/31/23     $       72,000 $          9,744   $       81,744
Christopher Kay*            CTO           1/1/23 - 7/31/23     $       68,400 $          6,749   $       75,149
Rebecca Johnson             CKO           1/1/23 - 8/18/23     $       85,545 $         17,056   $      102,601
* payments were made to Axim Inc UK as Kay & Thompson were employed by that entity and Axim
UK then paid the employees in £. Average exchange rate of £1 = $1.20 for forex purposes
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B2030 (Form 2030) (12/15)
                                                      United States Bankruptcy Court
                                                         Western District of North Carolina
 In re       Axim, Inc.                                                                                       Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

              Debtor            Other (specify):

3.    The source of compensation to be paid to me is:
              Debtor            Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtor in discharge/dischargeability actions, judicial lien avoidance, relief from stay
              proceedings, any other adversary proceedings, or appeals of bankruptcy court orders.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 10, 2024                                                           /s/ Andrew T. Houston
     Date                                                                     Andrew T. Houston 36208
                                                                              Signature of Attorney
                                                                              Moon Wright & Houston, PLLC
                                                                              212 N. McDowell Street
                                                                              Suite 200
                                                                              Charlotte, NC 28204
                                                                              704-944-6560 Fax: 704-944-0380
                                                                              ahouston@mwhattorneys.com
                                                                              Name of law firm
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                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     April 10, 2024                                 /s/ Scott Sweet
                                                         Scott Sweet/CEO
                                                         Signer/Title
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                      Aim SSC CR SRL
                      Montes de Oca
                      San Pedro
                      San Jose, SJ 11501


                      Alliance Technology Group LLC
                      Randall McCrea
                      7010 HI Tech Dr
                      Hanover, MD 21076


                      Alliantist Ltd
                      Sussex Innovation Centre Science Park Sq
                      Falmer
                      Brighton, East Sussex BN1 9SB


                      Allianz
                      100 International Drive 22nd Floor
                      Baltimore, MD 21202


                      Amazon
                      410 Terry Avenue North
                      Seattle, WA 98109-5210


                      American Red Cross
                      Tish Whitaker
                      Shared Services Centre
                      PO Box 410500
                      Charlotte, NC 28241-0500


                      ARI
                      John Calogero
                      4001 Leadenhall Road
                      Mount Laurel, NJ 08054


                      AT&T Services, Inc
                      Beth Edwards
                      PO Box 66524
                      Saint Louis, MO 63166


                      Avant LLC
                      Michael Litwin
                      222 N. LaSalle St., Suite 1700
                      Chicago, IL 60601
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                  Avaya Federal Solutions, Inc.
                  Mitzie A. Hatchett
                  12730 Fair Lakes Cir
                  Fairfax, VA 22033


                  Avaya Inc
                  Reema Gupta
                  4655 Great America Parkway
                  Santa Clara, CA 95054


                  AWS
                  410 Terry Avenue North
                  Seattle, WA 98101


                  Axim Inc (UK) Ltd
                  20-22 Wenlock Road
                  London N1 7GU


                  Bank of America
                  BofA Business Card
                  PO Box 15796
                  Wilmington, DE 19886


                  Benefis Health System
                  Matt Raab
                  1101 26th St. S,
                  Great Falls, MT 59405


                  BrownRudnick LLP (CXA)
                  One Financial Center
                  Boston, MA 02111


                  Bullseye Media
                  322 1st Avenue Suite 500
                  Minneapolis, MN 55401


                  Carahsoft Technology Corp
                  Bryan Jenkins
                  11493 Sunset Hills RoadSuite 100
                  Reston, VA 20190


                  Cazandra LLC
                  407 Lincoln Rd Ste 6G
                  Miami Beach, FL 33139
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                  Charles Russell Speechlys
                  5 Fleet Place
                  London UK
                  EC4M 7RD


                  Chris Byrom
                  Little Acres, Ford Lane
                  Trottiscliffe
                  West Mailling, Kent ME19 5DP


                  Chris Kay
                  19 St Albans Road
                  Halifax, West Yorkshire HX3 0ND


                  Citibank, N.A.
                  Its Branches, Subsidiaries and Affiliate
                  388 Greenwich Street, 10th Floor
                  New York, NY 10013


                  ConvergeOne
                  Joe Reed
                  10900 Nesbitt Avenue South
                  Bloomington,, MN 55437


                  ConvergeOne, Inc.
                  10900 Nesbitt Avenue South
                  Minneapolis, MN 55437


                  CoxCom LLC
                  Melissa Rockwell
                  6305B Peachtree Dunwoody Rd
                  Atlanta, GA 30038


                  CT Corporation
                  P.O. Box 4349 Carol Stream
                  IL 60197


                  CT Corporation System, as representative
                  330 N. Brand Blvd., Suite 700
                  Attn: SPRS
                  Glendale, CA 91203


                  Deloitte
                  Mike Syed
                  7900 Tysons One Place
                  McLean, VA 22012
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                  First Corporate Solutions, Inc.
                  As Representative
                  914 S. Street
                  Sacramento, CA 95811


                  Globalisation Partners
                  Ton Dedman
                  175 Federal Street, 17th Floor
                  Boston, MA 02110


                  Green Drake Limited
                  125 Winchester Road
                  Chandlers Ford
                  Eastleigh, Hampshire SO53 2DR


                  HM Weis Consulting
                  4221 Crawford Drive
                  Pensacola, FL 32504


                  Humana
                  Julie Castrup
                  PO Box 14750
                  Lexington, KY 40512


                  Humana
                  500 West Main Street
                  Louisville, KY 40202


                  Intelication
                  Calli Wright
                  410 Berry St SE
                  Vienna, VA 22180


                  Jason Pharmaceuticals Inc
                  Guru Mony
                  100 International Drive
                  Baltimore, MD 21202


                  Lien Solutions
                  PO Box 29071
                  Glendale, CA 91209-9071


                  LSQ
                  Kevin Wright
                  315 E Robinson St., Suite 200
                  Orlando, FL 32801
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                  Marcus H Gates Jr
                  13713 Grove Pond Drive
                  Midlothian, VA 23114


                  Millennium Software Inc
                  Jay Patel
                  200 Town Centre, Suite 300
                  Southfield, MI 48075


                  Millersoft Ltd
                  Stuart House, Eskmills, Station Rd
                  Musselburgh EH21 7PB


                  Peter Thompson
                  33 Barns Dene
                  Harpenden, Herts AL5 2HH


                  QBurst Technologies Inc
                  Saju Davasia
                  4414 Roundtree Lane
                  Missouri City, TX 77459


                  Rebecca E Johnson
                  13608 N 12th Way
                  Phoenix, AZ 85022


                  Richard M Dawson
                  4600 Park Rd, Ste 104
                  Charlotte, NC 28209


                  Rob Hendricks Consulting LLC
                  2209 E 2650 N
                  Logan, UT 84341


                  Sandler Partners
                  Courtney Morrow
                  423 S Pacific Coast Hwy, Suite 205
                  Redondo Beach, CA 90277


                  SAP Concur
                  Concur Technologies Inc.
                  601 108th Avenue
                  Bellevue, WA 98004
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                  Scott Sweet
                  3617 Nancy Creek Rd
                  Charlotte, NC 28270


                  Sellers, Ayres, Dortoch, Lyons
                  301 S McDowell Street, Suite 410
                  Charlotte, NC 28204


                  Small Business Administration
                  409 3rd St., SW
                  Washington, DC 20416


                  Small Business Administration
                  PO Box 3918
                  Portland, OR 97208-3918


                  Spry Squared
                  Stephen Spry
                  6 Inverness Court East, Suite 240
                  Englewood, CO 80112


                  Stafford County Public Schools
                  31 Stafford Ave
                  Stafford, VA 22554


                  Synnex
                  Adam Wilson
                  44201 Nobel Dr
                  Fremont, CA 94538


                  T-Metrics Inc.
                  Arthur Pravato
                  4430 Stuart Andrews Boulevard
                  Charlotte, NC 28217


                  Terence Healy
                  1710 Creek Street
                  Kill Devil Hills, NC 27948


                  The Southern Bank Company
                  221 South 6th Street
                  Gadsden, AL 35901
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                  Trinet
                  1 Park Place, Suite 600
                  Dublin, CA 94568


                  TTEC Technology, LLC
                  Brian Carmichael
                  6500 Riverplace Boulevard
                  Building 2 Suite 301
                  Austin, TX 78730


                  Verizon Sourcing
                  Theresa Lam
                  One Verizon Way
                  Basking Ridge, NJ 07920


                  Viable Resources Inc.
                  6547 Midnight Pass Road, No. 67
                  Sarasota, FL 34242


                  Waterfield
                  Phil Murphy
                  130 Produce Avenue, Suite C
                  South San Francisco, CA 94080


                  WK Lien Solutions
                  PO Box 29071
                  Glendale, CA 92109-9071


                  Zoom
                  55 Almaden Blvd.
                  San Jose, CA 95113


                  Zoom Video Communications, Inc.
                  55 Almaden Blvd #600
                  San Jose, CA 95113
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Axim, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Green Drake Limited
125 Winchester Road
Chandlers Ford
Eastleigh, Hampshire SO53 2DR




  None [Check if applicable]




April 10, 2024                                  /s/ Andrew T. Houston
Date                                            Andrew T. Houston 36208
                                                Signature of Attorney or Litigant
                                                Counsel for Axim, Inc.
                                                Moon Wright & Houston, PLLC
                                                212 N. McDowell Street
                                                Suite 200
                                                Charlotte, NC 28204
                                                704-944-6560 Fax:704-944-0380
                                                ahouston@mwhattorneys.com
